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                                     UNITED STATES DISTRICT COURT
                                 FOR THE SOUTHERN DISTRICT OF FLORIDA

  THE HANOVER AMERICAN
  INSURANCE COMPANY,                                                          CASE NO. 18-cv-62168-CMA

         Plaintiff,

  vs.

  PYKE MECHANICAL INC.
  and ANNETTE DAVIS, individually,

         Defendants.
                                                     /

        DEFENDANT, ANNETTE DAVIS’ MOTION FOR SUMMARY JUDGMENT
                 AND SUPPORTING MEMORANDUM OF LAW

         Defendant, ANNETTE DAVIS (“Davis”), by and through her undersigned attorneys,

  pursuant to Federal Rule of Civil Procedure 56 and Local Rule 7.1, submits this Motion for an Order

  granting Davis summary judgment in her favor and against Plaintiff, THE HANOVER AMERICAN

  INSURANCE COMPANY (“Plaintiff” or “Hanover”).

         In support of her Motion, Davis states that, based upon the accompanying Statement of

  Undisputed Facts (referred to as “SOF” and the appropriate paragraph “para.”) and Memorandum

  of Law, she is entitled to summary judgment as a matter of law as: (1) the express terms of the

  “Virus or Bacteria Exclusions” contained in the primary and umbrella general liability insurance

  policies issued by Hanover to Pyke Mechanical, Inc. (“Pyke”): (a) on their face, supersede the terms

  of the “Total Pollution Exclusion Endorsement” and “Fungi and Bacteria Exclusion Endorsement”

  in the policies (D.E. 1 Ex. “A-F”; SOF para.15-18 ); and (b) fail to legally and factually counteract

  Florida’s efficient proximate cause doctrine. Thus, Pyke’s negligence in cleaning of the involved

  water cooling tower, is the efficient proximate cause of Davis’s damages in the Underlying Action.

  (SOF para.3, deposition of Will Smythe, the Building Engineer for The Tides, held on November


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  1, 2018 in the Underlying Action [the “Smythe Depo”]). As such, these resulting damages sustained

  by Davis are covered, even if the other mold-related claims in Davis’s Complaint are not covered,

  based upon the “Virus or Bacteria Exclusions”. (SOF para. 15-17). Alternatively, para. 2 and para.

  4 of the “Virus or Bacteria Exclusions” are undeniably ambiguous. In addition, all of the Hanover

  policies issued to Pyke, a commercial HVAC contractor that regularly cleans and maintains water

  cooling towers, containing thousands of gallons of chemically treated water (D.E.1 Ex. “A”, 8; SOF

  para.3), are illusory as they: (a) give the impression that they cover Pyke for its usual and expected

  everyday business activities; (b) create an internal contradiction in the Hanover policies by granting

  limited coverage for mold (the Limited Fungus Coverage Extension), but then deleting that coverage

  in other sections of the Endorsement. (D.E. 1; SOF par. 19). Thus, based upon the Hanover policies,

  the undisputed material facts, and the operative pleadings,Davis is entitled to: (a) summary judgment

  in her favor and against Hanover; (b) a finding by this Court that Hanover owes both a duty to defend

  and indemnify Pyke for Davis’s damages in the Underlying Action; and (c) attorney’s fees and costs

  for Davis’s defense of this action. pursuant to Florida Statute Section 626.911, as Hanover is an

  Excess & Surplus Lines Insurer.

                                                  STATEMENT OF FACTS

         In the case at bar, Hanover seeks a declaration from this Court that it owes no duty to defend

  and indemnify its insured, Pyke ( the “Dec. Com.”) with respect to the underlying personal injury

  and property damage action filed by Davis against Pyke, et.al. in the Circuit Court of the 17th

  Judicial Circuit, styled Annette Davis v. The Tides at Bridgeside Square Condominium Association,

  Inc,, et al. Case No. CACE-18-008519 (the “Underlying Action”). (SOF para.2). For purposes of

  this Motion, this Honorable Court is requested to determine the purely legal issue of interpretation

  of the “Total Pollution Exclusion Endorsement”, “Fungi and Bacteria Exclusion”, “Virus or Bacteria

  Exclusions” and other coverage extensions and deletions contained in the primary and umbrella
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  general liability insurance policies issued by Hanover to Pyke.

          On April 10, 2018, Davis filed her complaint in the Underlying Action against Pyke, The

  Tides at Bridgeside Square Condominium Association, Inc. (“The Tides”), Akam On-Site Inc.

  (“Akam”), and Alliance Reconstruction, LLC (“Alliance”). (See Davis’ Complaint [the “Dav.

  Com.”] D.E. 1, Ex. “G”, 1-8). The Dav. Com. alleges that on February 21, 2014, Pyke was negligent

  in its performance of an annual cleaning of the water cooling tower located on the roof of The Tides,

  (the “WCT”), which caused the main drain pipe of the WCT to break and resulted in a significant

  amount of water (between 20,000 to 25,000 gallons of water contaminated with caustic chemicals,

  muck, and algae) (the “Flood”) to be dumped behind the drywall of the units below, including PH

  8, PH 10, 1510 (collectively PH 8, PH 10, 1510 will be referred to as the “Other Units”) and 1410

  (the “Davis Unit”). (See Smythe Depo. SOF para.3; D.E. 1, Ex. “G”, 14).

         In connection with the Flood, Carmela Paladino, an employee of Akam, the Property

  Manager for The Tides, retained Alliance to perform emergency water extraction, a “dry-out” and

  mold prevention in the Davis Unit and the Other Units. (Dav. Com. [D.E. 1, Ex. “G”, 15-16)]). As

  detailed in the Dav. Com., Alliance failed to properly dry-out the Davis Unit and Davis was

  unknowingly exposed to toxic levels of Aspergillus until it was discovered in April, 2017. [D.E. 1,

  Ex. “G”, 21].

         Before the Flood, Davis, now a forty three (43) year old female, was diagnosed with

  Chronic Fatigue Syndrome (“CFS”), MTHFR mutation, and severe immune suppression

  (collectively, Davis’ CFS, MTHFR mutation, and severe immune suppression will be referred to as

  “Davis’ Disability” [D.E. 1, Ex. “G”, 11]. At the time of the Flood, Davis was stable and doing well

  on medication for Davis’ Disability. Id. Shortly after the Flood, Davis’ Disability went from being

  stable to extreme, as she developed gliotoxin toxicity, lost a significant amount of hair and weight,

  several of her teeth cracked, developed rashes and severe bowel problems when her immune system
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  became even more compromised due to her exposure to toxic levels of Aspergillus. Id. At that time,

  Davis’ treating physicians, including her immunologist Dr. Irma Rey, could offer Davis no medical

  reason for this drastic decline in her health. Id.

         It was not until April, 2017, that Davis discovered that Alliance failed to perform a proper

  dry-out of her unit and that she lived and breathed the toxic Aspergillus since the time of the Flood.

  [D.E. 1, Ex. “G”, 21]. Davis belatedly discovered the Aspergillus when Expert Air Advice, Inc.,

  who she retained to replace her own air conditioning unit, advised her that there was a prior major

  leak from above (from the Flood) into the duct work behind the north wall in the Davis Unit. Id.

         Davis then reported the hidden water damage to The Tides and Akam who retained Florida

  Air Quality Solutions (“FAQS”) to test for mold and perform a limited fungal contamination

  assessment of the Davis Unit. [D.E. 1, Ex. “G”, 22]. Based upon their visual observations, mold

  spore sampling, including in the guest bedroom north wall, and fungal contamination assessment,

  FAQS concluded that the Davis Unit was affected by fungal contamination, including extremely high

  levels of Aspergillus. (A copy of FAQS July 12, 2017 Limited Fungal Contamination Assessment

  Report prepared for the Association and Akam [the “Report”] was annexed as Exhibit “A” to the

  Dav. Com., D.E. 1, Ex. “G”; SOF para.7). In the Report, FAQS recommended that The Tides and

  Akam retain a Licensed Mold Remediation Contractor to remove the north wall of the Davis Unit,

  perform proper mold remediation of the guest bedroom and closet and clean and remediate the

  potential bio contaminate fungal reservoirs in the entire Davis Unit. [D.E. 1, Ex. “G”, 22].

         On August 24, 2017, Davis retained Florida State Restoration Services, a Licensed Mold

  Remediation Contractor, who performed proper mold remediation, including removal and

  replacement of the drywall in the guest bedroom and closet on the north wall of the Davis Unit.

  (D.E. 1, Ex. “G”, 23 and SOF para.8).

         In an effort to determine the cause of Davis’ decline, Davis’ immunologist, Dr. Irma Rey,
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  Director of Medical Education at Nova Southeastern University, Diplomate American Board of

  Environmental Medicine and President of The American Academy of Environmental Medicine,

  conducted specialized laboratory tests on Davis. (D.E. 1, Ex. “G”, 24; SOF para.9-10). The tests

  revealed that Davis was urine positive for gliotoxin, a toxin made by the Aspergillus species of mold,

  the very same mold found by FAQS behind the north wall of the Davis Unit. Id.

          After she conducted additional laboratory testing, Dr. Rey determined that Davis required

  IVIG Therapy and she ordered that the IVIG Therapy be administered to Davis every three (3)

  weeks at an average cost of $13,000 for each infusion. (D.E. 1, Ex. “G”, 25; SOF para.10).

  According to Dr. Rey, without the IVIG treatment, Davis would not have an immune system to

  continue living and Davis requires the same three week IVIG Therapy regimen for the rest of her life.

  Id.

         In the Underlying Action, the Dav. Com. contains a single negligence cause of action against

  Pyke for failing to properly perform an annual inspection and cleaning of the WTC and allowing

  20,000 to 25,000 gallons of contaminated water to enter behind the walls of the Other Units and the

  Davis Unit. (D.E. 1, Ex. “G”, 60-64; SOF par.3). But for Pyke’s negligence, the ensuing water

  damage, eventual infestation of Aspergillus in the Davis Unit, and significant life-long damages to

  Davis would have never occurred. Id.

          As it relates to coverage for Pyke for Davis’ claims, it is undisputed that Hanover issued

  three surplus commercial general liability policies to Pyke, policy numbers ZZJ970412703,

  ZZJ970412704 and ZJ970412705, policy periods December 30, 2013 through December 30, 2016,

  respectively, (the “Hanover Prim. Policies”). (See D.E., 1- 10-11; SOF para. 12]. Further, Hanover

  issued three umbrella policies to Pyke, policy periods of December 30,2013 through December

  30, 2016, policy numbers UHJ970412903, UHJ970412904 and UHJ970412905, respectively(the

  “Hanover Umbrella Policies”). (See D.E. 1- 10-11; SOF para.12). (collectively the Hanover Prim.
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  Policies and the Hanover Umbrella Policies will be referred to as the [“Hanover Policies”]).

          The Insuring Agreement in the Hanover Prim. Policies provides that the insurance applies

  to “bodily injury” or “property damage” only if: (1) the “bodily injury” is caused by an “occurrence”

  that takes place in the “coverage territory”; and (2) the “bodily injury” occurs during the policy

  period. (See Id.).

          In relevant part, the Hanover Umbrella Policies contain Insuring Agreements that provide

  that the insurance applies to “ultimate net loss” in excess of the “retained limit” because of “bodily

  injury” or “property damage” only if: The “bodily injury” or “property damage” occurs during the

  policy period....” (See Id.).

          For purposes of this Motion, the Hanover Prim. Policies contain two (2) operative Virus or

  Bacteria Endorsements. The First Virus or Bacteria Exclusion, (SOF para.15-16) provides:

                         EXCLUSION OF LOSS DUE TO VIRUS OR BACTERIA

          This endorsement modifies insurance provided under the following:
          COMMERCIAL PROPERTY COVERAGE PART
          STANDARD PROPERTY POLICY

          A. The exclusion set forth in Paragraph B. applies to all coverage under all forms and
          endorsements that comprise this Coverage Part or Policy, including but not limited to forms
          or endorsements that cover property damage to buildings or personal property....

          B. We will not pay for loss or damage caused by or resulting from any virus, bacterium or
          other microorganism that induces or is capable of inducing physical distress, illness or
          disease.

          However, this exclusion does not apply to loss or damage caused by or resulting from
          ‘fungus’, wet rot or dry rot. Such loss or damage is addressed in a separate exclusion in this
          Coverage Part or Policy.

          C. With respect to any loss or damage subject to the exclusion in Paragraph B., such
          exclusion supersedes any exclusion relating to “pollutants”.

          D. The following provisions in this Coverage Part or Policy are hereby amended to remove
          reference to bacteria:



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                    1. Exclusion of “Fungus”, Wet Rot, Dry Rot And Bacteria; and
                    2. Additional Coverage-Limited Coverage for “Fungus”, Wet Rot, Dry Rot And
                    Bacteria, including any endorsement increasing the scope or amount of coverage.

          E. The terms of the exclusion in Paragraph B., or the inapplicability of this exclusion to a
          particular loss, do not serve to create coverage for any loss that would otherwise be excluded
          under this Coverage Part or Policy.

          Notably, the Second Virus or Bacteria Exclusion in the Hanover Prim. Policies, (SOF

  para.16) was expressly adopted from The American Association of Insurance Services Form

  Endorsement (“AAIS ”) which the insurance industry acknowledges was developed, “... in 2006 in

  light of the possibility of a pandemic of avarian flu and addresses contamination from any disease-

  causing agent, including, but not limited to, SARS, rotavirus, listeria, legionella and anthrax. “ ( See

  Association Files to Exclude ‘Virus or Bacteria’ Related Diseases in The Insurance Claims

  Journal, SOF para.17). In relevant part, the Second Virus or Bacteria Exclusion provides as

  follows:

                                        VIRUS OR BACTERIA EXCLUSION

  AAIS
  CL 0700 10 06

                    The additional exclusion set forth below applies to all coverages, coverage
                    extensions, supplemental coverages, optional coverages, and endorsements that are
                    provided by the policy to which this endorsement is attached, including, but not
                    limited to, those that provide coverage for property, earnings, extra expense, or
                    interruption by civil authority.

                    1.          The following exclusion is added under Perils Excluded, item 1.:

                    Virus or Bacteria

                    2.          Superseded Exclusions - The Virus or Bacteria exclusion set forth by this
                                endorsement supersedes the “terms” of any other exclusions referring to
                                “pollutants” or to contamination with respect to any loss, cost, or expense
                                caused by, resulting from, or relating to any virus, bacterium, or other
                                microorganism that causes disease, illness, or physical distress or that is
                                capable of causing disease, illness, or physical distress.



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        DEFINITIONS

                   Definitions Amended –

                   When “fungus” is a defined “term”, the definition of “fungus” is amended to delete
                   reference to a bacterium.

                   When “fungus” or related perils” is a defined “term”, the definition of “fungus or
                   related perils” is amended to delete reference to a bacterium.

        PERILS EXCLUDED

                   The additional exclusion set forth below applies to all coverages, coverage
                   extensions, supplemental coverages, optional coverages, and endorsements that are
                   provided by the policy to which this endorsement is attached, including, but not
                   limited to, those that provide coverage for property, earnings, extra expense, or
                   interruption by civil authority.

                   1.          The following exclusion is added under Perils Excluded, item 1.:

                               Virus or Bacteria –

                               “We” do not pay for loss, cost, or expense caused by, resulting from, or
                               relating to any virus, bacterium, or other microorganism that causes disease,
                               illness, or physical distress or that is capable of causing disease, illness, or
                               physical distress.


        This exclusion applies to, but is not limited to, any loss, cost, or expense as a result of:
        a. any contamination by any virus, bacterium, or other microorganism; or...

                   2.     Superseded Exclusions --

                   The Virus or Bacteria exclusion set forth by this endorsement supersedes the “terms”
                   of any other exclusions referring to “pollutants” or to contamination with respect to
                   any loss, cost, or expense caused by, resulting from, or relating to any virus,
                   bacterium, or other microorganism that causes disease, illness, or physical distress
                   or that is capable of causing disease, illness, or physical distress....

        OTHER CONDITIONS

                   Other Terms Remain in Effect –

                   The “terms” of this endorsement, whether or not applicable to any loss, costs, or
                   expense, cannot be construed to provide coverage for a loss, cost, or expense that
                   would otherwise be excluded under the policy to which this endorsement is attached.

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         In addition, the Hanover Prim. Policies contain the following Limited Fungus Coverage
  Extension and an Endorsement deleting that Extension, which provide the following:

         3.    Limited Fungus Coverage–

                    a. Coverage- - ‘We” pay for:

                                (1)        costs and expenses arising out of the presence of ‘fungus’ on covered
                                           property caused by or resulting from a covered peril; and

                                (2)        direct physical loss or damage to covered property caused by or
                                           relating to the existence of any activity of ‘fungus’.

                    b. Coverage Limitation– ‘We “ only provide the coverage described in item 3. a.
                       above:

                                1)         when the ‘fungus’ is the result of:

                                           a) a ‘specified peril’ other than fire or lightning; or

                                           b) ‘flood’( if Flood Coverage is provided under this policy);

                                   2)      only if all reasonable steps were taken to protect the property from
                                           additional damage at or after the time of the occurrence.

                    c. Limited Fungus Coverage Limit– The most ‘we’ will pay for all loss or
                    damage covered by this Coverage Extension at all ‘job sites’ is $15,000....

         Then after granting limited fungus coverage, the Hanover Policies completely negate that

  coverage by deleting the Limited Fungus Coverage Extension as follows:


                     AMENDATORY ENDORSEMENT-FUNGUS EXCLUSION
                           AND LIMITED COVERAGE DELETED

         1.         Under Coverage Extensions, the Limited Fungus Coverage Extension is deleted.

  With regard to definitions, the Hanover Policies provide the following:

         3.         ‘Fungus’ means:

                           a. a fungus, including but not limited to mildew and mold;...
                           d. a bacterium; or
                           e. a chemical, matter, or compound produced or released by a fungus,...
                              bacterium, including but not limited to toxins, spores, ...such as microbial

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                                 volatile compounds.

          7.         ‘Pollutant’ means:

                     a.          Any solid, liquid, gaseous, ...contaminant, including acids, akalis, chemicals,
                                 fumes, smoke, soot, vapor, and waste....

          As it relates to the Hanover Umbrella Policies, the Hanover Prim.Policies are expressly listed

   in the Schedule of Underlying Policies, along with other Hanover policies issued to Pyke for

   commercial automobile coverage. (D.E. 1, Ex. “A-F”).

          For the reasons set forth above, and detailed below, it follows that if there is coverage

   available to Pyke under the Hanover Prim. Policies, there is also coverage available for Pyke under

   the Hanover Umbrella Policies. It defies logic and reason that all of Pyke’s operative policies were

   written by Hanover and that only the Hanover Prim. Policies afford coverage for Davis’s damages

   in the Underlying Action and the Hanover Umbrella Policies do not.

          In the Dec. Com., the essence of Hanover’s claim that there is no coverage available to Pyke.

   is that the Total Pollution Exclusions Endorsements and the Fungi and Bacteria Exclusion

   Endorsements exclude such coverage. (D.E. 1). Stated simply, however, all of these Exclusion

   Endorsements were expressly superseded by the Virus or Bacteria Exclusion Endorsements which:

   (a) fail to sufficiently counteract Florida’s efficient proximate cause doctrine; and (b) do not exclude

   coverage for Pyke’s negligence, its failure to properly clean the WCT and prevent the Flood from

   occurring, [D.E. 1, Ex. “G” 14]. Therefore, there is coverage available to Pyke for the Underlying

   Action based upon the efficient proximate cause doctrine. Further, all of the Hanover Commercial

   HVAC Contractor Policies are, almost by definition, illusory as they: (a) fail to cover Pyke’s regular

   and customary business activities; and (b) grant by Extension Limited Fungus Coverage and then

   completely negate that coverage in other sections of the Hanover Policies, including the Amendatory

   Endorsement -Fungus Exclusion and Limited Coverage Deleted and the “Total Pollution Exclusion”


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   and the “Fungi and Bacteria Exclusion” (SOF para. 19). Thus, as a matter of law, there is coverage

   available for Pyke for the Underlying Action under all of the Hanover Policies.

                                                  MEMORANDUM OF LAW

           I.        DAVIS’ MOTION FOR SUMMARY JUDGMENT ON HANOVER’S
                     COMPLAINT SHOULD BE GRANTED.


          Under Federal Rule of Civil Procedure 56, summary judgment should be granted where the

   moving party shows there are no genuine issues of material fact and that it is entitled to judgment

   as a matter of law. Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986); Metz Wouters v. Martin

   County, 9 F.3d 924, 928 (11th Cir. 1993). cert. denied, 513 S.Ct. 812 (1994); see also Pape v. Local

   390 of the International Brotherhood of Teamsters, et al, 315 F. Supp. 2d 1297 (Fla. S.D. 2004). The

   “purpose” of summary judgment is to pierce the pleadings and assess the proof in order to see

   whether there is a genuine need for trial. Metz Wouters Id. at 928. The moving party has the initial

   burden of proof and when the burden of proof has been met, the “burden shifts” to the non-moving

   party to demonstrate that there is indeed a material issue of fact that precludes summary judgment.”

   Clarke v. Coats & Clark, Inc., 929 F.2d 604, 609 (11th Cir. 1991). The “mere existence of a scintilla

   of evidence to support plaintiff’s position will be insufficient. If the evidence is merely colorable,

   or is not significantly probative, summary judgment may be granted.” Early v. Champion

   International Corp., 907 F.2d 1077, 1080 (11th Cir. 1990). For the reasons detailed below, Davis

   submits that there are no genuine issues of material fact and that she is entitled to summary judgment

   as a matter of law against Hanover.

   A.     Standard for Insurance Policy/Contract Interpretation

          It is well-established under Florida law that “[a]n insurer’s duty to defend is broader than its

   duty to indemnify”. Colony Ins. Co. v. Montecito Renaissance, Inc., Case No.: 8:09-cv-1469-T-



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   30MAP, 2011 WL 4529948, at *14 (M.D. Fla. Sept. 30, 2011). See also Sinni v. Scottsdale Ins. Co.,

   676 F. Supp. 2d 1319, 1323 (M.D. Fla. 2009); Allstate Ins. Co. v. RJT Enterprises, Inc., 692 So. 2d

   142, 144 (Fla. 1997). “The decision of whether an insurer has a duty to defend is determined solely

   by the claimant’s complaint if suit has been filed.’” Nationwide Mut. Fire Ins. Co. v. Kaloust

   Financial, LLC, Case No.: 8:12-cv-235-T-33MAP, 2012 WL 6589739, at *2 (M.D. Fla. Dec. 18,

   2012) (citing Higgins v. State Farm Fire & Cas. Co., 894 So. 2d 5, 9-10 (Fla. 2004)).

            It has also been held that, “[a]n insurer’s duty to defend against a legal action is triggered

   ‘when the complaint alleges facts that fairly and potentially bring the suit within policy coverage.’”

   Nationwide Mut. Fire Ins. Co., Case No.: 8:12-cv-235-T-33MAP, 2012 WL 6589739, at *2 (citing

   Jones v. Fla. Ins. Guar. Ass’n, Ins., 908 So. 2d 435, 442-43 (Fla. 2005). Indeed, “[i]f the complaint

   alleges covered and non-covered claims, the insurer’s duty to defend is triggered and the insurer is

   obligated to defend the entire suit. This is true even where the facts later show there is no

   coverage”). Id. Here, the Dav. Com., on its face, triggers coverage for Pyke for its negligence giving

   rise to Davis’ damages and Hanover’s relied upon Exclusions do not apply.

   B.       The Plain Language of The Virus and Bacteria Exclusions Control

            Under controlling law, insurance contracts must be construed according to their plain

   meaning. See Empire Indemnity Insurance Company v. Winsett, 325 Fed. Appx. 849 (11th Cir.

   2009).      “A policy provision should be enforced, whether it is a basic policy provision or an

   exclusionary provision, if it is clear and unambiguous.” Falcon Trust Group, Inc. v. Travelers Cas.

   & Sur. Co. of Am., 725 F. Supp. 2d 1363, 1367 (S.D. Fla. 2010). “[A] court should construe each

   sentence in connection with the other provisions of the policy to arrive at a reasonable construction

   that accomplishes the intended purpose of the parties.” Continental Cas. Co. v. City of Jacksonville,

   654 F. Supp. 2d 1338, 1348 (M.D. Fla. 2009). “Courts should not interpret any clause of a contract



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   in a manner which destroys the meaning of any other provision.” Id. See also City of Delray Beach

   v. Agricultural Ins. Co., 85 F.3d 1527, 1535 (11th Cir. 1996) (“no clause should be interpreted in a

   manner which eviscerates any other provision.”).                             Applying these principles to the matter at hand,

   it is abundantly clear that the plain language of the two (2) Virus and Bacteria Exclusion

   Endorsements, not the Total Pollution Exclusions Endorsements and/or the Fungi and Bacteria

   Exclusion Endorsements, are controlling in this Courts’ interpretation of the Hanover Policies. To

   this point, the Second Virus or Bacteria Exclusion in the Hanover Policies expressly states that, “The

   Virus or Bacteria exclusion set forth by this endorsement supersedes the ‘terms’ of any other

   exclusion referring to ‘pollutants’ or to contamination with respect to any loss,..caused by, resulting

   from, cor relating to any...microorganism that causes disease, illness, or physical distress or that is

   capable of causing disease, illness or physical distress”. (Emphasis added). According to the Mold

   Institute USA, and as confirmed by Webster’s Dictionary, “microorganisms” are defined as living

   cells that are too small to be seen by the naked eye, must be seen through a microscope and include

   mold    and      bacteria.            (Mold        Institute         USA,         Microbes,           Mold        &      Your        Health,

   www.moldinstituteusa.com, SOF para.18). Thus, the undeniable intent of the Second Virus or

   Bacteria Exclusion was to supersede the Total Pollution and Fungi and Bacteria Exclusion

   Endorsements as it relates to coverage exclusions for “microorganisms”, such as the Aspergillus

   species of mold that resulted in Davis’ damages detailed in the Dav. Com. (D.E.1).

          Davis does acknowledge that para. 4 of the Second Virus or Bacteria Exclusion indicates that

   “[T]he terms of this endorsement...cannot be construed to provide coverage for a loss, cost or

   expenses, cannot be construed to provide coverage for a loss...that would otherwise be excluded

   under the policy...” However, Hanover can not reasonably dispute that: (1) if para. 4 was intended

   to mean that there is no coverage for fungus/mold because it is excluded under the Fungi or Bacteria



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   Exclusion, then para. 2 would be rendered meaningless because the Virus or Bacteria Exclusions

   would not supersede the very exclusions they were expressly intended to exclude, that is, the

   Pollution and Fungi or Bacteria Exclusions; and (2) the terms of the Virus or Bacteria Exclusions

   were meant to have their plain and ordinary meaning, that is to supersede the Pollution and Fungi

   or Bacteria Exclusions. To interpret para. 4 otherwise would destroy the meaning of para. 2. See,

   City of Delray Beach, 85 F.3d at 1535. At the very minimum, there is an undeniable ambiguity in

   the Second Virus or Bacteria Exclusion as to whether it was intended to supersede the Pollution and

   Fungi or Bacteria Exclusion Endorsements. Therefore, these ambiguous exclusionary provisions

   must be construed against Hanover in favor of coverage as the language is susceptible to more than

   one reasonable interpretation. See Szczeklik v. Mackel International Ins. Co., Ltd., 942 F. Supp 2d

   1254, 1259-60 (M.D. Fla. 2013). (Exclusionary clauses are generally disfavored and construed more

   strictly than coverage clauses citing Hartford Dec. and Indemn. Co. v. Beaver, 466 F.3d 1289, 1296

   (11th Cir. 2006) and Penzer v. Transp. Ins. Co., 545 F.3d 1303, 1309 (11th Cir. 2008)).

          Although Hanover may contend that the First and Second Virus or Bacteria Exclusions

   Endorsements apply to property damage claims only, which Davis vigorously disputes, the Second

   Virus or Bacteria Exclusion in the Hanover Prim. Policies was expressly adopted from the AAIS

   Endorsement Form which was developed to address bodily injury claims and contamination from

   disease causing agents, such as mold, and not just property damage. (See SOF para. 17).

          Further, the First Virus or Bacteria Exclusion was expressly intended to cover Commercial

   Property claims; if the Second Virus or Bacteria Exclusion is interpreted to cover only property

   damage, and not bodily injury claims, there would be no need for this Second Exclusion and it too

   would be meaningless.




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   C.     There is Coverage for Davis’s Damages in The Underlying Action Based Upon Florida’s
          Efficient Proximate Cause Doctrine.

          Under Florida’s efficient proximate cause doctrine, if the efficient proximate cause, i.e. a

   cause that sets other causes of action in motion, is covered under an insurance policy, then the

   resulting loss will be covered even if the other causes that are not covered contribute to the loss.

   (Emphasis added). See Empire Indem. Ins. Co. 325 Fed. Appx at 851; Bartram, LLC, 864 F. Supp.

   2d at 1229.

          In order for an exclusion to counteract Florida’s efficient proximate cause doctrine, it must

   contain specific language which excludes coverage, “ [c]aused directly or indirectly by Windstorm

   or Hail (the named Exclusion), regardless of any other cause or event that contributes concurrently

   or in any sequence to the loss or damage...” See Bartram, LLC, 864 F. Supp. 2d at 1234 citing

   Empire Indem. Ins. Co. 325 Fed. Appx at 851. Here, it is plainly obvious that the First and Second

   Virus or Bacteria Exclusion Endorsements fail to contain the requisite language crafted to counteract

   Florida’s efficient proximate cause doctrine. Indeed, these Exclusions do not provide that coverage

   for virus, bacteria or other microorganisms, such as Aspergillus, are excluded if the damages are

   caused directly or indirectly by the virus, bacteria or other microorganisms, regardless of any other

   cause or event that contributes concurrently or in any sequence to the loss or damage. (Emphasis

   added) Id. As the Hanover Prim. Policies and the Hanover Umbrella Policies fail to contain the

   mandated language, the initial negligence of Pyke in failing to prevent the Flood from occurring,

   including leakage of 20,000 to 25,000 gallons into the walls of the Davis Unit, there is coverage for

   Davis’s damages under the efficient proximate cause doctrine, even though the mold-related

   damages are arguably not covered under the First and Second Virus or Bacteria Exclusion

   Endorsements. (SOF para. 3).

          In addition, the Hanover Policies were issued to Pyke, a commercial HVAC contractor that


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   regularly and as an integral part of its business: (a) uses pollutants and chemicals, such as freon; and

   (b) cleans and maintains water cooling towers containing thousands of gallons of chemically treated

   water [D.E. 1, Ex. “A”, 8]. Davis submits that these Hanover Policies are illusory as they give the

   impression that they cover Pyke for its everyday business, however, if Hanover’s position is accepted

   by this Court, there would be no coverage for incidents arising out of Pyke’s use of freon and

   services performed on chemically treated water cooling towers. Further, a finding of no coverage

   under the Hanover Policies simply ignores the ambiguity in the policies as they grant limited

   coverage for mold (the Limited Fungus Coverage Extension), but then exclude that same coverage

   in other sections of the policies, the Amendatory Endorsement -Fungus Exclusion and Limited

   Coverage Deleted and the “Total Pollution Exclusion” and the “Fungi and Bacteria Exclusion”

   (SOF para. 19). See, e.g. The Warwick Corp. v. Turetsky, 42 Fla. L. Weekly D. 1797a (Fla. 4th DCA

   2017) and Tire Kingdom, Inc. v. First S. Co., 573 So.2d 885, 887 (Fla. 3rd DCA 1990). (“A policy

   is illusory only if there is an internal contradiction that negates the coverage it expresses to provide”).

   In fact, if a policy grants coverage in one section (the Limited Fungus Coverage Extension), then

   excludes the same coverage in another Section (the Amendatory Endorsement -Fungus Exclusion

   and Limited Coverage Deleted and the Total Pollution and Fungi and Bacteria Exclusions), the

   coverage is illusory. Tire Kingdom, Id. and The Warwick Corp., 42 Fla. L. Weekly at D1797a.

   Thus, the Hanover Policies grant of coverage in one part, then exclusion of that coverage in another

   part, is illusory. Further, the exclusion of coverage for Pyke’s regular business services is the

   proverbial “sale of ice in the winter” and is therefore illusory. Id.

   D.      Davis is Entitled To Summary Judgment For Coverage Of The Underlying Action Under
           The Hanover Policies.

            Here, as noted above, the Hanover Policies must be construed according to their plain

   meaning. See Taurus Holdings, Inc., 913 So. 2d at 532. “A policy provision should be enforced,


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   whether it is a basic policy provision or an exclusionary provision, if it is clear and unambiguous.”

   Falcon Trust Group, Inc. v. Travelers Cas. & Sur. Co. of Am., 725 F. Supp. 2d 1363, 1367 (S.D. Fla.

   2010). Id. See also City of Delray Beach v. Agricultural Ins. Co., 85 F.3d 1527, 1535 (11th Cir. 1996)

   (“no clause should be interpreted in a manner which eviscerates any other provision.”).

          Indeed, the Hanover Prim. Policies undeniably contain the First and Second Virus or Bacteria

   Exclusion Endorsements. [See D.E. 4-3]. The letter and spirit of these Exclusions results in coverage

   for Davis’s damages in the Underlying Action based upon Florida’s efficient proximate cause

   doctrine as it is abundantly evident that Pyke’s initial negligence in cleaning the Water Cooling Tower

   was the cause that set the other Defendants, The Tides, Akam and Alliance’s, negligence into motion

   which resulted in Davis’s devastating injuries and damages. In addition, as detailed above, the

   Hanover Policies, are, at the very minimum, ambiguous and illusory by their own controlling

   provisions.

          Accordingly, based upon the pleadings, SOF and exhibits, documents incorporated by

   reference, and well-established case law, Hanover has both the obligation to defend and indemnify

   Pyke in the Underlying Action.

                                                              CONCLUSION

          WHEREFORE, based on the aforesaid, Davis respectfully requests that this Honorable Court

   enter an Order: (1) granting her motion for summary judgment under Rule 56; (2) finding that

   Hanover owes both a duty to defend and indemnify Pyke for Davis’s damages in the Underlying

   Action; (3) entitling Davis to attorney’s fees and costs for Davis’ defense of this action, pursuant to

   Florida Statute Section 626.911, as Hanover is an Excess & Surplus Lines Insurer: and (4) granting

   such other and further relief that this Court deems just and proper.




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                                                 CERTIFICATE OF SERVICE

          WE HEREBY CERTIFY that on this 11th day of February, 2019, the foregoing document

   was electronically filed with the Clerk of the Court using CM/ECF. We also certify that a true and

   correct copy of the foregoing document is being served this day on all counsel of record via

   transmission of Notices of Electronic Filing generated by CM/ECF and/or United States Mail

   (for those parties not on the CM/ECF system).

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